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                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

 IN RE:                                     §
                                            §                CHAPTER 11
 ALEXANDER E. JONES                         §              CASE NO. 22-33553
     Debtor                                 §

     FIRST UNITED AMERICAN COMPANIES, LLC’S RESPONSE TO TRUSTEE’S
        EXPEDITED MOTION FOR ENTRY OF AN ORDER IN FURTHERANCE
         OF THE SALE OF ASSETS OF FREE SPEECH SYSTEMS, LLC, AND
     OBJECTION TO THE PROPOSED SALE TO GLOBAL TETRAHEDRON, LLC
                      (Relates to Docket Nos. 859 and 915)

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

      COMES NOW, FIRST UNITED AMERICAN COMPANIES, LLC

(“FUAC”), a party-in-interest and the highest cash bidder in the recent “auction” of

certain of the assets of Free Speech Systems, LLC (“FSS”), and files this Response to

Trustee’s Expedited Motion for Entry of an Order in Furtherance of the Sale of Assets

of Free Speech Systems, LLC (the “Motion”), and objects to the Trustee’s proposed

sale of assets of FSS to Global Tetrahedron, LLC, an affiliate of the Onion (referred to

hereinafter sometimes as the “Onion”).

                                    INTRODUCTION

1.    The Trustee of the Alexander Jones Chapter 7 case, Christopher Murray (the

“Trustee”), recently undertook to sell certain FSS assets (the “Assets”) pursuant to this

Court’s Sale Order at Docket No. 859 (the “Sale Order”). Exhibit 1.

2.    The Trustee filed a Notice of Successful Bidder and Backup Bidder on

November 14, 2024, at Docket 903 (“Notice of Successful Bidder”). Exhibit 2. In
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the Notice of Successful Bidder, the Trustee designated the Onion and Connecticut

Families (as defined in Ex. 2) as the Successful Bidder, despite the fact that the

Connecticut Families are not paying the estate any money and they are not acquiring

any of the Assets. (Collectively, the Onion and Connecticut Families are sometimes

referred to herein as the “Joint Bidder”)

3.    Both FUAC’s and the Onion’s initial bids were determined by the Trustee to be

the only two “qualifying bids.” Ex. 1 at ¶ 5; Compare Exhibit 3 (FUAC’s initial bid)

with Exhibit 4 (the Onion’s initial bid). FUAC’s initial bid was $1,200,000 and the

Onion’s was $1,000,000. There were no other qualified bids for the online live auction

that was scheduled for November 13, 2024. Ex. 1 at ¶5.

4.    After receiving the initial bids, the Trustee and Tranzon unilaterally decided to

deviate from the scheduled live auction approved by the court and conduct a secret

highest and best bid process without court approval and contrary to the Sale Order. Ex.

1 at ¶12; See also, Exhibit 5 (Tranzon’s November 11, 2024 email changing the

Court’s ordered sales process); Exhibit 6 (the “new” unauthorized bidding instructions

that were issued by the Trustee and Tranzon). The Trustee scrapped the live auction

process despite representing to the Court that his intention was to have a live

“open-cry” auction after initial bids were qualified. See the Trustee’s Motion for Entry

of an Order Authorizing the Winddown of Free Speech Systems, LLC (Dkt. 829, at

¶¶5, 22, 29, 34).



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5.    In response to the new unauthorized bidding instructions, FUAC submitted its

cash bid of $3.5 million for all of the Assets. Exhibit 7. The only other qualified

bidder, the Joint Bidder, submitted a bid of $1.75 million cash plus a “Distributable

Proceeds Waiver” from the Connecticut Families that was contingent upon the amount

of the otherwise highest alternative Qualified Bid and calculatable by a formula such

that the Waiver would equal “the amount necessary for all other holders of allowed

unsecured creditors of FSS to recover $100,000 more, in the aggregate, than they

would recover from the sale of the Purchased Assets to the Backup Bidder, up to 100%

of the Connecticut Families’ entitlement to the Cash Purchase Price.” See the Proposed

Sale Order, Dkt. 915-8, pg. 5-6, at ¶H; also see Exhibit 8, pgs. 4 and 5.

6.    All exhibits and filings on the Court Docket system that are referenced herein

are incorporated by their reference.

                              SUMMARY OF ARGUMENT
7.    FUAC, the designated Backup Bidder, objects to the Sale to the Onion for

multiple independent reasons, as set forth below. This summary is not intended to

be exhaustive.

8.    The Trustee improperly abandoned the Court-ordered live auction process in

favor of a secret bid procedure without proper authority or disclosure. The Sale

Order (Ex. 1) explicitly required any changes to the auction process to be announced

on the record at the live auction and disclosed to all qualified bidders. Moreover,

the Trustee obtained the Sales Order by representing to the Court that he would

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conduct a live auction after the initial bids were qualified. See Dkt. 829, ¶¶5, 22, 29,

34. The Trustee’s unilateral decision to conduct a secret bid process just two days

before the scheduled auction (Ex. 5) violated these requirements and fundamentally

altered the competitive dynamics of the sale without court approval or required

disclosures.

9.    The sale process was fatally flawed in its execution. The Trustee violated not

only the Sale Order but his own original bid procedures (Exhibit 9), as well as the

unauthorize new bid instructions (Ex. 6), by among other things, accepting a

supposedly “highest and best” from the Joint Bidder that utilized formulas and

contingencies that he explicitly told bidders would not be permitted. This created

an inherently unfair process where some bidders were required to submit firm cash

offers (Ex. 7) while the Joint Bidder was permitted to submit a floating contingent

bid that would automatically adjust to “top” competing bids (Ex. 8).

10.   Third, the Trustee improperly accepted as consideration a unique

“Distributable Proceeds Waiver” (sometimes referred to herein as the “Waiver” or

“DPW”) that provides zero actual value to the estate. The DPW was introduced in

the Joint Bidder’s initial bid (Ex. 4) and expanded in its final bid (Ex. 8) (sometimes

referred to hereafter of the “Joint Final Bid”), representing an unprecedented attempt

to transmute a contingent waiver of potential future distributions into present

consideration for an asset purchase.           This construct fails both legally and

practically—it provides no additional value to the estate, rests entirely on multiple
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contingencies, it violates the Sale Order, was not disclosed, and fundamentally

undermines the integrity of the sale process.

11.   The record demonstrates impermissible collusion between the Trustee, the

Onion, and the Connecticut Families in violation of Section 363(n) of the

Bankruptcy Code. The parties orchestrated a scheme to control the price through a

floating bid mechanism specifically designed to depress the cash price offered by

the Onion while creating the illusion of higher total consideration. This collusion is

evident in the progression from the initial bid of the Joint Bidder (Ex. 4) through the

unauthorized change in sale procedures (Ex. 5) to the structure of the Final Joint Bid

(Ex. 8). The Trustee’s participation in this scheme potentially transforms what

might otherwise be mere bidder misconduct into outright deception and completely

undermined the integrity of the sale process. In furtherance of this impermissible

collusion, the Trustee has allowed the Joint Bidder to amend the Final Joint Bid after

he had accepted and filed with the Court the Notice of Successful Bidder (Ex. 2).

12.   The proposed sale also fails to protect PQPR’s secured claim. The cash

proceeds from the Onion’s portion of the bid of $1,750,000 (Ex. 8), which translates

into approximately $1,100,000 of net sales proceeds after administrative costs

associated with the sale or taken into account, are significantly less than PQPR’s

secured claim, and the DPW offers nothing to secured creditors. The sale cannot be

approved as it clearly fails to protect PQPR’s interests.



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13.   These procedural and substantive defects cannot be remedied. They go to the

heart of what makes a bankruptcy sale process fair and transparent. The Motion

must be denied. The only appropriate remedy is to reject the Final Joint Bid and

close on FUAC’s all-cash bid of $3,500,000 (Ex. 7), which has been designated as

the Backup Bidder.

                          ARGUMENT AND AUTHORITIES

1.    Standing
14.   As a threshold preliminary matter, FUAC has standing to be heard in this

matter and lodged its objection to the proposed sale to the Proposed Purchaser. The

Supreme Court has made clear that a “party in interest” is meant to be interpreted

broadly and should include any party who is “potentially concerned with, or affected

by, a proceeding.” Truck Insurance Exchange v. Kaiser Gypsum Company, Inc., 602

U.S. 268, 269 (2024). Moreover, the Sale Order specifically reserves FUAC’s

standing with regard to the auction and any related items. Ex. 1 at ¶30.

2.    Sale Process
      2.1    The Auction Process was Changed from a Live Auction to a Secret
             Bid Process in Violation of the Sale Order and Contrary to the
             Trustee’s Representations to the Court.

15.   The Trustee’s decision to abandon the Court-ordered live auction process in

favor of a secret bid procedure represents a clear and material violation of the Sale

Order. This unauthorized deviation fundamentally altered the nature of the sale

process and prejudiced FUAC’s rights as a qualified bidder.

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16.   The Sale Order explicitly prescribed the process for any modifications to the

auction procedures. Specifically, paragraph 12 of the Sale Order provides that the

Trustee was authorized to implement procedures other than the scheduled live online

auction “only as he and his advisors announced on the record at the Auction.” Ex. 1

at ¶12. This requirement was not merely procedural window-dressing—it was a

carefully crafted provision designed to ensure transparency and fairness with respect

to any modifications to the sale process.

17.   The IP Assets Auction was scheduled for November 13, 2024 at 10:30 a.m.

(Prevailing Central Time). Ex. 1, ¶5.

18.   Under the Sale Order’s explicit terms, any changes to the sale process were

required to be announced at this Auction and placed “on the record.” The Trustee

and Tranzon failed to comply with either requirement. Instead, on November 11,

2024, two days before the scheduled live auction, the Trustee and Tranzon

unilaterally communicated their decision to switch to a secret highest and best bid

process, citing the purported “complexity” of the bids as justification. Ex. 5. The

Trustee did so without notifying the Court that he “cancelled” the live auction and

despite the fact that the Trustee told the Court that he would conduct a live auction

and that is what he obtained bankruptcy court approval to do. See Dkt. 829.

19.   The Trustee’s justification to violate the Sale Order and his representations to

the Court rings particularly hollow given that FUAC’s initial bid was straightforward

and uncomplicated—a pure cash offer of $1,200,000. Ex. 3.             The supposed
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“complexity” arose solely from the Connecticut Families’ attempt to introduce a

unique and problematic form of “consideration” through the DPW. Rather than

address this complexity through the transparent process mandated by the Sale Order,

the Trustee opted to move the entire sale process behind closed doors cloaked in

secrecy.

20.   Moreover, the Sale Order required that any changes to the sale process had to

be disclosed to all Qualified Bidders including FUAC. Ex. 1 at ¶12, 21. In addition,

if the Trustee cancelled the live auction, he was required to file notice of such

cancellation with the Court. He did not do that. Instead, the Trustee made additional

material changes to the sale procedures that were not disclosed or approved by the

Court. The clandestine nature of these changes demonstrates the Trustee chose to

abandon the transparent process mandated by the Sale Order (and which he

represented to the Court) in favor of a secret procedure to shield these modifications

from scrutiny by FUAC and this Court.

21.   The Trustee’s decision to conduct a secret bid process materially prejudiced

FUAC in multiple significant ways. It deprived FUAC of the opportunity to

participate in a live auction where it could actively compete against other bidders.

The secret process also concealed critical information about the nature of competing

bids and the Trustee’s willingness to accept a non-traditional “unique” form of

consideration that no bankruptcy trustee in history has ever accepted before. This

lack of transparency prevented FUAC from adjusting its bidding strategy in response
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to real-time market feedback, while fundamentally altering the competitive

dynamics of the sale process without proper disclosure or court authorization.

22.   The Sale Order’s requirements for modifying the auction procedures were not

mere suggestions—they were mandatory provisions designed to protect the integrity

of the sale process and ensure transparency, and fair treatment of all qualified

bidders. The Trustee’s unilateral decision to abandon these requirements in favor of

a secret process represents a clear violation of both the letter and spirit of the Sale

Order, and were contrary to the representations the Trustee made to the Court to

obtain the Sale Order (See Dkt. 829).

      2.2    The Onion’s Initial Bid Materially Deviated from Required Bid
             Procedures.
23.   The fundamental flaws in the sale process are starkly illustrated by examining

the Joint Bidder’s initial bid (Ex. 4) and the unauthorized new bid instructions issued

by the Trustee after his receipt of the initial bids (Ex. 6). From the outset, the Onion

and Connecticut Families were engaged in a scheme to circumvent proper bidding

procedures through the use of an improper form of consideration. The Onion’s

initial bid package reveals a calculated attempt to introduce a unique and problematic

form of consideration that violated multiple requirements of the Sale Order and the

initial bid instructions. Ex. 1, Ex. 4, and Ex. 9.

24.   The Joint Bidder’s initial bid was comprised of two components: a cash bid

of $1,000,000 and a unique “Distributable Proceeds Waiver” concept introduced by


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the Connecticut Families. The Trustee’s handling of the deposit requirement alone

demonstrates the problematic nature of this structure. By accepting a deposit of only

$100,000, representing 10% of just the cash portion of the bid, the Trustee implicitly

confirmed that he attributed zero value to the DPW component. The bid package

clearly required “a cash deposit equal to ten percent (10%) of the Purchase Price of

such Sealed Bid.” If the DPW had any real value, the deposit amount would

necessarily have been larger. In fact, the Trustee confirmed that he did not waive

the 10% cash deposit requirement for any of the bidders.

25.    The DPW’s structure fundamentally violated the Sale Order’s basic

requirements. It was explicitly designed to be contingent upon and calculated by

reference to other qualified bids, with the DPW amount “floating” based on a

formula tied directly to competing bid amounts. This directly contravened the Sale

Order’s explicit requirement that bids be for “a specific amount in U.S. dollars (not

a range).” Moreover, the Sale Order contemplated that only cash and non-cash items

with a readily ascertainable cash value (such as gold or bitcoin) would be acceptable

forms of consideration. Ex. 1. The DPW, being contingent on future events and

other bids, had no ascertainable value. Having accepted the fundamentally flawed

initial bid of the Joint Bidder, the Trustee’s subsequent conduct only compounded the

procedural defects, creating a cascading series of violations that further undermined

the integrity of the sale process.



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      2.3    The Trustee’s Contradictory Response.

26.   After receiving the Joint Bidder’s initial bid, including the DPW, rather than

reject the DPW outright or seek Court clarification, the Trustee issued new bid

instructions that fundamentally altered the sale process and violated the Sale Order

by converting the approved live auction to a secret process. Ex. 6. These new

instructions stated that bids should “quantify the amounts of such consideration in

specific dollar amounts with specificity and avoiding references to any formulas or

other contingencies.” This created an untenable situation: either the instructions

were intentionally misleading to bidders like FUAC who took them at face value and

submitted straightforward cash bids, or it was meant to signal that the formula-based

contingent DPW consideration included in the Joint Bidder’s initial bid would not

be accepted. In either case, the Trustee then contradicted his own new instructions

by accepting the Final Joint Bid which continued to rely on a formula-based and

contingent DPW. Moreover, the new bid instructions called for “highest and best

bids.” The Final Joint Bid did not satisfy that requirement because of the floating

component of the DPW, which was to provide the non-Connecticut unsecured

creditors with $100,000 more than they might otherwise receive from the otherwise

highest Qualified Bidder.

27.   The Trustee’s conduct was even more problematic given his representation to

undersigned counsel that he would not allow the holders of unsecured claims to

credit bid. When undersigned counsel specifically asked if he would allow the

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Connecticut Families (or any creditor) to credit bid, he responded unequivocally

“No.” While the Trustee may now argue that the DPW is technically not a credit

bid, he knew that counsel’s fundamental concern was whether an unsecured creditor

could use their claim as “currency.”

28.   This pattern of conduct—accepting the Joint Bidder’s initial bid, issuing

contradictory new instructions, and ultimately accepting the Joint Final Bid that

violated the Sale Order (Ex. 1) and the new instructions (Ex. 6), and was contrary to

what the Trustee represented to the Court (See Dkt. 829)—demonstrates that the

integrity of the sale process was fatally compromised from the outset. The Trustee’s

actions suggest a predetermined outcome rather than a fair and transparent sale

process as required by the Sale Order and applicable law.

      2.4    The Sale Process was Fatally Flawed.

29.   The sale process suffered from fatal procedural defects that cannot be

remedied and require that the Motion be denied. The process was compromised by

a series of unauthorized changes, misleading communications, and fundamental

departures from the Sale Order’s requirements and basic principles of full disclosure

and transparency.

30.   The initial deviation occurred on November 11, 2024, when Tranzon abruptly

announced via email that “based on the complexity of the bids as received,” the final

round auction would “take the form of a request for highest and best bids.” Ex. 5.

This cursory explanation for abandoning the Court-ordered live auction process was

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demonstrably pretextual.        There was nothing complex about FUAC’s

straightforward cash bid of $1,200,000. The only “complexity” arose from the Joint

Bidder’s attempt to introduce its improper DPW scheme—a complexity that should

have resulted in an immediate rejection (or the very least a request for clarification

from the bankruptcy court), rather than a wholesale unauthorized change to the sale

process.

31.   The new bid instructions that followed this announcement created an

inherently contradictory framework (Ex. 6). While purporting to require that any

bids that include components of consideration apart from the cash purchase amounts

“should quantify the amounts of such consideration in specific dollar amounts with

as much specificity as possible and avoiding references to any formulas or other

contingencies,” the Trustee already knew the Joint Bidder’s initial bid relied on a

formula-based DPW that was contingent upon the amount of the otherwise highest

Qualified Bid so that unsecured creditors other than the Connecticut Families would

receive $1 more than they would under the otherwise highest Qualified Bid. Exs. 4

& 6. The new instruction was either a misleading facade designed to give the

appearance of a fair procedure, or it represented the Trustee’s actual requirements

which he then inexplicably abandoned to accommodate the Final Joint Bid.

32.   Not only were the new procedures unauthorized and in violation of the Sale

Order, the Trustee’s conduct was even more problematic in the execution of these

new procedures. The bid instructions explicitly stated that bid amounts should be in
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specific dollar amounts and avoid references to formulas or other contingencies. Yet

the Joint Final Bid, which the Trustee accepted, was built entirely around

contingencies and formulas and was not in a specific dollar amount. The DPW

component was expressly designed to float based on competing bids, making it

impossible to evaluate without reference to other offers. This directly violated both

the letter and spirit of the bid instructions.

33.    Most troublingly, these procedural irregularities appear designed to obscure

rather than illuminate the true nature of the bids. By abandoning the transparent

process of a live auction in favor of secret bids, the Trustee eliminated the ability of

qualified bidders to understand and respond to competing offers. This lack of

transparency was particularly prejudicial given that one bidder—the Joint Bidder—

was permitted to structure its bid in direct response to other bids through its floating

DPW mechanism, while other bidders (e.g., FUAC) were kept in the dark about this

arrangement.

34.    The culmination of these flaws is evident in the Trustee’s acceptance of the

Final Joint Bid and his filing of the Notice of Successful Bidder. Despite the explicit

requirements in both the Sale Order and the new bid instructions that bids be

expressed in specific dollar amounts without contingencies or formulas, the Trustee

accepted a bid that violated every aspect of these requirements. This wasn’t merely

a technical violation—it fundamentally undermined the integrity of the entire sale

process.
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35.      These procedural defects cannot be dismissed as mere technical violations.

They go to the heart of what makes a bankruptcy sale process fair and transparent.

When a trustee abandons court-ordered procedures, issues contradictory

instructions, and then selectively enforces those instructions to favor certain bidders,

the entire process is tainted.

3.       The Distributable Proceeds Waiver Fails as Valid Consideration and
         Provides No Value to the Estate.
36.      The Trustee’s acceptance of the Distributable Proceeds Waiver as

consideration represents an unprecedented and legally unsupportable departure from

established bankruptcy principles. The DPW fails both as a matter of law and

practical application—it provides no actual value to the estate as a whole while

introducing unacceptable contingencies and speculative outcomes into what was

designed and approved to be a straightforward asset sale.

37.      One fundamental defect of the DPW is its complete failure to provide any

additional value to the estate. The estate will receive exactly the same amount from

the Final Joint Bid—$1,750,000 in cash—regardless of how the Connecticut

Families might later choose to allocate their theoretical future distributions. Ex. 8 at

p.4-5.    The reallocation of potential distributions among creditors cannot, by

definition, increase the value available to the estate or the creditor body as a whole.

This renders the DPW meaningless as consideration from the estate’s perspective.




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38.   The DPW’s structure is particularly problematic because it represents an

attempt to transmute a contingent waiver of potential future distributions into present

consideration for an asset purchase. The waiver’s value depends entirely on multiple

speculative events occurring: (1) the Connecticut Families prevailing in their

pending appeals, (2) their claims ultimately being allowed in the bankruptcy case,

and (3) there being sufficient funds for distribution to make the waiver meaningful.

Ex. 8 at p.4-5. These are not mere administrative contingencies—they go to the very

existence of the thing being offered as consideration.

39.   Moreover, the DPW’s floating nature—designed to automatically adjust

based on competing bids—reveals its true purpose as a price control mechanism

rather than legitimate consideration. Ex. 8. The Connecticut Families structured the

DPW to “equal an amount necessary for other unsecured creditors of FSS to recover

$100,000 more than they would receive from the sale of the Acquired Assets to the

otherwise highest Qualified Bidder.” Ex. 8 at p.4. This formula-based approach

means the DPW has no fixed value, making it impossible to evaluate as

consideration at the time of bid submission. Additionally, by definition, it is not a

“highest and best bid,” as it is designed to float up if necessary to top the otherwise

highest Qualified Bidder.

40.   The DPW also fundamentally upends the nature of bankruptcy sales and

creditor rights. The estate—not the creditors—owns the assets being sold. The

Connecticut Families’ attempt to leverage their potential future distributions as
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current currency rests on the faulty premise that they have some present right to

direct or control the sale process. While creditors may waive rights to future

distributions, such waivers cannot constitute valid currency for a current asset

purchase by a third party. The DPW was in furtherance of the Connecticut Families’

continued attempt to bludgeon the Trustee into allowing them to control who would

acquire the Assets.    Unfortunately, the Trustee eventually succumbed to the

Connecticut Families’ pressure tactics.

41.   The novelty of using a contingent waiver of future distributions as purchase

currency highlights the fundamental problems with the DPW structure. Creditors

may certainly waive their rights to distributions, but attempting to monetize such

waivers as currency for a third-party asset purchase distorts basic bankruptcy

principles. This is particularly true where, as here, the underlying claims remain

disputed and the distributions themselves are speculative.

4.    Integrity of the Process & Reasonable Expectations of the Participants.
42.   The Sale Order provided for the “Auction” to be held on November 13, 2024,

through Tranzon’s selected online auction platform. Ex. 1 at ¶18. The Sale Order

does not allow for the Trustee to change to a secret bid process unless the procedure

changes were announced “on the record at the Auction” and the proposed changes

were not inconsistent with the Sale Order and disclosed to all Qualified Bidders. Ex.

1 at ¶12. The change the Trustee made was certainly inconsistent with the Sale

Order and also contrary to what the Trustee represented to the Court. See Dkt. 829.

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43.   Clearly, this provision was intended to ensure that Qualified Bidders were

provided with full disclosure concerning any proposed changes and designed to

further the goal of transparency, one of the pillars of bankruptcy.

44.   At the very minimum, if the Trustee wished to change to a secret bid “highest

and best” sale process, such change had to be announced at the Auction and full

disclosure would have had to have been made concerning the identities of the

Qualified Bidders and what their Qualified Bids were. Ex. 1 at ¶21. Only with such

disclosure would Qualified Bidders have a fair opportunity to submit highest and

best bids. And, even then, Court approval was most likely still required to permit

the drastic change the Trustee implemented.

45.   Rather than follow the Sale Order and provide full disclosure, the Trustee

decided to cloak the process in secrecy. Ex. 5. Most likely, he made this decision

because of his consideration of the DPW as currency, as he understood, rightfully

so, that disclosure of that fact would have been brought to this Court’s attention

immediately.

46.   This Court has the task of balancing (1) the governing principle in confirming

a sale, which is to secure the highest benefit for the estate, and (2) the need to

preserve the integrity and formality of the auction process and to recognize the

reasonable expectations of the parties who participated in the auction. Corporate

Assets, Inc., v. Paloian, 368 F.3d 761 (7th Cir. 2004); See In re Financial News



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Network, Inc., 980 F.2d 165 (2d Cir. 1992); Four B. Corp. v. Food Barn Stores and

(In re Food Barn Stores, Inc.), 107 F.3d 558 (8th Cir. 1997).

47.   In this case, FUAC’s bid was the highest cash bid and provides the estate the

most benefit. Ex. 7. The Final Joint Bid, even if it were accepted at its argued face

value, does not provide the most benefit to estate or the creditor body as a whole.

Ex. 8 at p.4. Arguably, it might offer more benefit to the creditors who are not part

of the Connecticut Families group, but that is only because the Connecticut Families

have decided to waive a right to which they might otherwise be entitled.

48.   Even more concerning is the fact that the use of the Waiver as currency was

not disclosed even though the Trustee knew that the Joint Bidder was relying on the

waiver concept as currency from the Joint Bidder’s initial bid. Ex. 4 at p.4. Had the

Trustee followed the Sale Order, other Qualified Bidders would have known that the

Connecticut Families were offering a non-cash waiver as part of the consideration

in the Joint Bid. Exs. 1 & 4. And with that knowledge, which full disclosure and

transparency required, Qualified Bidders would have been able to react and adjust

accordingly.

49.   FUAC had a reasonable expectation that the Trustee would follow the Sale

Order. Further, FUAC expected that it would be given the same opportunity as the

other Qualified Bidders. FUAC was not told that the Trustee was considering

something like the DPW as currency. No reasonable bidder would ever believe that

something like that was possible. Nothing like it has even been accepted in any
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bankruptcy case in the entire country. Also, very importantly, FUAC reasonably

expected that “highest and best” actually meant highest and best, and that no

formulas or contingencies would be considered. As discussed, the Trustee accepted

the Final Joint Bid despite the fact it included contingencies and a formula designed

to provide “$100,000 more than the otherwise highest bid.” FUAC also expected

that the final bid would not be allowed to be amended after the fact, but that is exactly

what the Trustee allowed the Joint Bidder to do.

5.    The Trustee did not Reasonably Exercise his Business Judgment

50.   The bankruptcy court reviews the trustee’s business judgment to determine

independently whether the judgment is a reasonable one. 3 Collier on Bankruptcy ¶

363.02[4] (Richard Levin & Henry) Sommer eds., 16th ed. 2020. The Trustee must

attempt to maximize value for the benefit of the estate.

51.   Here, the proposed sale should not be approved because the Trustee failed to

follow the Court ordered sales process and its own bid instructions. And, the Trustee

failed to provide all bidders with full disclosure and transparency.

52.   The Trustee’s acceptance of the Waiver as currency is unprecedented. There

is not a reported case in the entire country where such a contingent and amorphous

type of currency has been recognized. The DPW is impossible to value. The

Connecticut Families’ judgment is on appeal. The ultimate outcome of such appeal

cannot be known. However, it is fair to consider that the sheer magnitude of the

dollar amount of the judgment should give any court pause to accept it at face value

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before the appeal process runs its course. Finally, the PQPR secured claim remains

unresolved. Both the Debtor and the Trustee have had ample time to seek the Court’s

determination of the amount of the secured claim. But, for whatever reasons, that

has not happened.

53.   The Trustee’s speculation about the ultimate outcome of PQPR’s claim is just

that—rank speculation. His “acceptance” of the Final Joint Bid was not a reasonable

exercise of his business Judgment for all of the reasons stated herein.

6.    Collusion

54.   The record reveals a sophisticated arrangement by the Onion and Connecticut

Families to manipulate the sale process through the use of artificial consideration,

ultimately undermining the fundamental integrity of this sale. This was not merely

cooperation between bidders—which alone would be concerning—but rather a

coordinated effort to control the sale price while creating the appearance of higher

total consideration.

55.   U.S. bankruptcy law has a strong and well-established public policy against

enforcing collusive or price-fixed bids in sale contracts. As articulated in In re

SageCrest II, LLC, this prohibition is fundamental to maintaining the integrity of

bankruptcy sales. No. 3:16-cv-00021 (VAB), 2018 U.S. Dist. LEXIS 54245, at *13

(D. Conn. Mar. 30, 2018). More specifically, Section 363(n) of the Bankruptcy

Code provides courts the authority to withhold approval of sales lacking good faith



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due to collusion between purchasers and bidders. In re Edwards, 228 B.R. 552, 563

n.23 (Bankr. E.D. Pa. 1998).

56.   The Joint Bidder’s strategy, evident from its initial bid, was to use the

Connecticut Families’ potential future distributions as a mechanism to control the

effective purchase price. Ex. 4. Rather than compete on a cash basis, the Onion

structured its bid around a floating waiver that would automatically adjust to exceed

any competing bid, while never requiring more than $1,750,000 in actual cash

consideration. This arrangement created complex administrative challenges to the

Trustee that ultimately led to fatal deviations from the planned sale process. Ex. 5.

57.   The Section 363(n) prohibition applies with particular force to agreements

that seek to control, rather than merely affect, the price. In re New York Trap Rock

Corp., 42 F.3d 747, 753-54 (2d Cir. 1994). Here, the Onion and Connecticut

Families crafted their arrangement specifically to ensure the Onion would acquire

the assets with minimum cash outlay. Their joint bid was premised entirely on

topping competing bids with theoretical value while maintaining a fixed ceiling on

actual cash consideration. Ex. 4 & 8.

58.   The complexity of this arrangement influenced the sale process in ways that

ultimately undermined the process itself and lacked transparency. The original live

auction format was abandoned in favor of secret bids (Ex. 5) accommodating the

very kind of formula-based, contingent consideration the Sale Order and bid

instructions prohibited.
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59.   Most concerning is how this arrangement undermined the fundamental

principle that bankruptcy sales should maximize value for the estate. Under the Joint

Bidder’s bid structure, the estate would never receive more than $1,750,000 in cash,

regardless of competing bids. Ex. 8. Instead, the Connecticut Families would simply

adjust their waiver of speculative future distributions—consideration that provides

no actual value to the estate.

60.   The sophisticated nature of this scheme is particularly evident in how it was

structured to appear compliant with sale requirements while fundamentally altering

the competitive dynamics of the bidding process.           After the initial joint bid

introduced the DPW concept (Ex. 4), each subsequent modification served to further

entrench this mechanism for controlling the effective purchase price while

maintaining the appearance of competitive bidding.

61.   This type of price control mechanism, however carefully constructed, is

precisely what Section 363(n) is designed to prevent. When sophisticated parties

collaborate to create artificial consideration and control sale prices, the integrity of

the entire bankruptcy sale process is compromised. The Court’s responsibility to

ensure fair and transparent sales requires rejection of such arrangements, regardless

of how they are presented.

62.   Both the Joint Bidder’s initial bid (Ex. 4) and the Joint Final Bid (Ex. 8)

disclosed to the Trustee the Joint Bidder’s ultimate intent to suppress the cash

amount bid by the Onion through the Connecticut Families’ loan to the Onion of
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enough non-cash currency to allow the Onion to top other Qualified Bids, and then

the Onion would pay back the amount the Connecticut Families gave up with the

DPW through future revenues. See Ex. 4, pg. 3 of 6; and Ex. 8, pg. 5 of 6.

63.    By the very nature of the Joint Bidder’s submissions, they were structured to

ensure that the Onion, the Connecticut Families’ preferred Purchaser, would be

permitted to acquire the assets with the minimum amount of cash outlay. This structure

is a clear attempt to control the sales price.

64.    Incredibly, the Trustee ultimately decided to sanction the Joint Bidder’s scheme.

In furtherance of this scheme, the Trustee has subsequently allowed the Joint Bidder

to change their final bid after the Trustee filed the Notice of Successful Bidder.

                                       Conclusion

       For all these reasons, FUAC respectfully requests that the Court deny the

Motion and order that the Trustee close with the selected Backup Bidder (i.e., FUAC),

and grant FUAC such further relief as may be appropriate under circumstances.

                                                  Respectfully submitted,

                                                   /s/ Walter J. Cicack
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                             Certificate of Service

      I hereby certify that a true and correct copy of the foregoing document has
been served through the Court’s ECF noticing system on this 6th day of December,
2024.

                                                  /s/ Walter J. Cicack
                                                 Walter J. Cicack




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